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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA

                                    FORT MYERS DIVISION

NRG2, LLC,                                                        CASE NO.: 8:22-CV-80

       Plaintiff,

vs.

ISLAND ROOFING AND RESTORATION, LLC
f/k/a ISLAND ROOFING LLC,

      Defendant.
______________________________/

                                           COMPLAINT

       Plaintiff, NRG2 LLC, sues Defendant, Island Roofing and Restoration, LLC

f/k/a Island Roofing LLC, for damages as follows:

                                             Introduction

       1.     This is an action by Plaintiff, NRG2 LLC, to recover the commission it

earned while working for Defendant, Island Roofing and Restoration, LLC f/k/a

Island Roofing LLC.

                                Parties, Jurisdiction, and Venue

       2.     Plaintiff, NRG2 LLC, is a for profit Oklahoma limited liability

corporation that is authorized to conduct and that conducted business in Florida,

and it is sui juris.

       3.     Defendant, Island Roofing and Restoration, LLC, is a for profit

Florida limited liability corporation that is sui juris and has operated its business

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here, in Naples, Collier County, Florida, at all times material. Defendant

previously operated its business as Island Roofing, LLC.

      4.     Venue is proper pursuant to 28 U.S.C. §1391(b)(ii) because Defendant

transacts business in this District, because Defendant maintained its principal

places of business in this District, and because most if not all of Defendant’s

operational decisions were made in this District.

      5.     This Court has original jurisdiction over Plaintiff’s claims pursuant to

28 U.S.C. §1332, because Plaintiff is a foreign corporation, because the Defendant

corporation is a resident of this District, and because the amount in controversy

exceeds $200,000.00, exclusive of costs, interest, or attorneys’ fees.

      6.     Venue is appropriate because all of the actions and/or decisions

relevant to Plaintiff’s claims occurred within this District.

      7.     Any/all condition(s) precedent to filing this lawsuit occurred and/or

was satisfied by Plaintiff.

                     Common Background Factual Allegations

      8.     Plaintiff’s owner and principal, Clinton Gagnon, met with Josh

Martin, a principal and owner of Defendant, to discuss working as an estimator

for Defendant.

      9.     Defendant agreed to hire Mr. Gagnon but required him to open a

corporation to do so.

      10.    Mr. Gagnon complied when he opened NRG2, LLC.


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      11.    NRG2, LLC then contracted to work as an estimator for Defendant.

(Exhibit “A”.)

      12.    Defendant provides residential and commercial roofing services in

Southwest Florida in connection with constructing new roofs, performing roof

replacements, performing roof repairs, and in providing estimates for use by

insurance companies after named windstorm damage.

      13.    Defendant contracted for Plaintiff to find commercial properties to

hire Defendant to perform roofing services.

      14.    Defendant agreed to pay Plaintiff a commission of 40% of the gross

net amount of the roof price, overhead, and profit awarded by the applicable

insurance companies

      15.    Any/all conditions precedent to filing this lawsuit occurred and/or

was satisfied by Plaintiff.

      16.    Plaintiff retained the undersigned counsel and agreed to pay a

reasonable fee for all services rendered.

                      COUNT I – BREACH OF CONTRACT

     Plaintiff, NRG2, LLC, reincorporates and re-alleges all preceding paragraphs

as though set forth fully herein and further alleges as follows:

      17.    Plaintiff performed under its contract with Defendant (appended

hereto as Exhibit “A”) by procuring sales from the following properties:

             a.     The Colonies at Berkshire Lakes Condominium Association,

                     Inc. (“Berkshire”);
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            b.     Enclave At Naples Condominium Association, Inc. (“The

                    Enclave”); and

            c.     Sterling Greens I Condominium Association, Inc. (“Sterling

                    Greens”).

      18.   Defendant performed roofing services pursuant to the above-

referenced contracts procured by Plaintiff.

      19.   Defendant received payment from and/or on behalf of Berkshire, The

Enclave, and Sterling Greens for the roofing work it performed.

      20.   Defendant paid Plaintiff part of the commissions it earned in

connection with Sterling Greens on January 21, 2021, but Defendant failed to pay

the entirety of the commission owed to Plaintiff by improperly retaining $60,000

from the commission payment.

      21.   Defendant also failed and refused to pay Plaintiff the entirety of the

commissions earned by Plaintiff in connection with the roofing work performed

for/at Berkshire, The Enclave, and Sterling Greens.

      22.   As a direct and proximate result of Defendant’s breach(es) of the

contract appended hereto as Exhibit “A”, Plaintiff suffered damages exceeding

$200,000.

     WHEREFORE Plaintiff, NRG2, LLC, demands the entry of a judgment in its

favor and against Defendant, Island Roofing and Restoration, LLC f/k/a Island

Roofing LLC, after trial by jury for its resultant breach of contract damages in the

form of the commissions earned, all interest allowed by law, attorneys’ fees
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pursuant to the parties’ contract appended hereto as Exhibit “A”, and such other

and further relief as the Court deems just and proper.

                  COUNT II – BREACH OF THE COVENANT
                   OF GOOD FAITH AND FAIR DEALING

     Plaintiff, NRG2, LLC, reincorporates and re-alleges paragraphs 1 through 15

as though set forth fully herein and further alleges as follows:

      23.    Plaintiff performed under its contract with Defendant (appended

hereto as Exhibit “A”) by procuring sales from the following properties:

             a.    The Colonies at Berkshire Lakes Condominium Association,

                    Inc. (“Berkshire”);

             b.    Enclave At Naples Condominium Association, Inc. (“The

                    Enclave”); and

             c.    Sterling Greens I Condominium Association, Inc. (“Sterling

                    Greens”).

      24.    Defendant performed roofing services pursuant to the above-

referenced contracts procured by Plaintiff.

      25.    Defendant had a contractual duty / covenant to protect the

reasonable expectations of the contracting parties in light of their express

agreement.

      26.    Application of the covenant of good faith and fair dealing to

Defendant’s contractual duties to Plaintiff would not contravene the express terms

of the parties’ contract appended hereto as Exhibit “A”.

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       27.   Defendant had an obligation to allow Plaintiff to perform its duties,

and in good faith, to not interfere with Plaintiff’s ability to perform its contractual

obligations, with Plaintiff’s access to Acculynx, and to not require Plaintiff to

perform duties above and beyond those contractually required of it to receive the

commissions owed to it.

       28.   Defendant did not discharge its obligations in good faith, and instead

breached its obligations, when it sought to require Plaintiff to perform extra-

contractual duties, when it removed Plaintiff’s access to Acculynx, and when it

precluded him from continuing to work and/or perform any additional services

required for Berkshire and/or The Enclave due to no dereliction of duty by

Plaintiff.

       29.   Defendant has since received payment from and/or on behalf of

Berkshire, The Enclave, and Sterling Greens for the roofing work it performed.

       30.   Defendant failed and refused to pay Plaintiff the entirety of the

commissions earned by Plaintiff in connection with the roofing work performed

for/at Berkshire, The Enclave, and Sterling Greens.

       31.   As a direct and proximate result of Defendant’s breach(es) of the

contract appended hereto as Exhibit “A”, Plaintiff suffered damages exceeding

$200,000.

     WHEREFORE Plaintiff, NRG2, LLC, demands the entry of a judgment in its

favor and against Defendant, Island Roofing and Restoration, LLC f/k/a Island

Roofing LLC, after trial by jury for its resultant breach of contract damages in the
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form of the commissions earned, all interest allowed by law, attorneys’ fees

pursuant to the parties’ contract appended hereto as Exhibit “A”, and such other

and further relief as the Court deems just and proper.


                            DEMAND FOR JURY TRIAL

      Plaintiff, NRG2, LLC, demands a trial by jury of all issues so triable.

      Dated this 7th day of February 2022.

                                                     Respectfully Submitted,

                                                     s/Brian H. Pollock, Esq.
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